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                             UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS



 STACY FOSTER, et al.,

                Plaintiffs,

                        v.
                                                             C.A. No. 1:18-CV-10354
 COMMONWEALTH OF
 MASSACHUSETTS, et al.,

                Defendants.


                        JOINT MOTION TO STAY PROCEEDINGS

       Plaintiffs Stacy Foster, Jamie Kimball, Jonathan Riley and Nicole Westcott and the

Defendants (“Commonwealth”) hereby submit this joint motion to stay these proceedings,

including the deadline for Defendants’ response to the Amended Complaint, for 100 days until

May 10, 2019. In support of this motion, the parties state the following:

       1.      This action seeks class-wide relief on behalf of approximately 28,500 individuals

whose convictions were vacated and cases dismissed with prejudice by the Supreme Judicial

Court of Massachusetts in 2017 and 2018, and others whose convictions were vacated and whose

cases were dismissed after the misconduct in the Hinton and Amherst Drug Labs was revealed to

the public, but before the Supreme Judicial Court took official action. Plaintiffs claim that under

Nelson v. Colorado, 137 S. Ct. 1249 (2017), those individuals are entitled to the return of

payments that were exacted from them, compensation for mandatory labor or community service

they performed, and return of property seized from them, upon and as consequences of their

now-vacated convictions.




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       2.      Plaintiffs filed their Complaint on February 23, 2018. To facilitate ongoing

discussions between counsel for Plaintiffs and the Commonwealth regarding the litigation,

Plaintiffs requested and obtained extensions of the deadline by which to serve the Complaint on

the Defendants. The Complaint was served on August 24, 2018, with a response deadline of

September 14, 2018. No responsive pleading was filed in response to the Complaint.

       3.      On September 6, 2018, Plaintiffs filed an Amended Complaint. ECF No. 27.

       4.      On September 13, 2018, the parties filed a joint motion for a stay of proceedings

for 120 days to allow the parties to continue their efforts to identify and discuss a potential global

resolution of certain claims in the Amended Complaint. ECF No. 36. On September 17, 2019,

the Court allowed the motion. ECF No. 37.

       5.      Defendants have not yet filed a response to the Amended Complaint, which is due

January 31, 2019.

       6.      Since March 2018, counsel for Plaintiffs and the Commonwealth have continued

to engage in regular discussions and joint efforts to negotiate a potential resolution of certain

claims in the Amended Complaint, including the appropriate forum for such a resolution. These

efforts involve addressing the complex issues that arise from, inter alia, the size of the proposed

class, the length of time at issue, and the collection of information from multiple state

government bodies.

       7.      A further stay of proceedings in this Court would facilitate the parties’ efforts at

negotiating a potential global resolution of certain claims, which have been productive. The

parties have identified categories of fees and fines that would likely be covered by a potential

global resolution, and for such categories of fees and fines, the parties anticipate making




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substantial progress in the coming months in aggregating and analyzing a large amount of data

regarding relevant payments made by putative class members.

        8.       Moreover, a further stay of proceedings would allow the parties to endeavor to

address the need for global relief identified by the Supreme Judicial Court on October 30, 2018

in Commonwealth v. Martinez, 480 Mass. 777 (2018). In Martinez, the relief sought was on

behalf of one criminal defendant whose conviction had been dismissed as a result of misconduct

in the Hinton Drug Lab. The Supreme Judicial Court also addressed the need for a system-wide

mechanism for returning fees to individuals whose convictions have been dismissed in

connection with misconduct in the Hinton and Amherst Drug Labs. The Court has directed the

Attorney General and the Committee for Public Counsel Service to report to the Court no later

than April 30, 2019 (specifically, to the single justice responsible for the implementation of the

dismissal protocols for Dookhan and Farak defendants) in writing regarding the status of this

putative class action litigation. Martinez, 480 Mass. at 798.

        9.       With a deadline for responsive pleadings in this action for May 10, 2019, the

week following the deadline for reporting to the Supreme Judicial Court, the parties can continue

working towards addressing these complex issues and negotiating global relief that could reduce

the need for adversarial litigation.

        10.      The parties believe that a 100-day stay is in the interests of justice and will

conserve judicial resources.

        Accordingly, the parties hereby move this Court to stay these proceedings, including

Defendants’ deadline for responding to the Amended Complaint, for 100 days, until May 10,

2019.




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Respectfully submitted,

 Plaintiffs                               Defendants

 STACY FOSTER, JAMIE KIMBALL,             COMMONWEALTH OF MASSACHUSETTS;
 JONATHAN RILEY, and NICOLE               CHARLIE BAKER, Governor; DEBORAH B.
 WESTCOTT,                                GOLDBERG, Treasurer; JONATHAN S.
                                          WILLIAMS, Administrator of the Trial Court;
 By their Attorneys                       EDWARD DOLAN, Commissioner of Probation;
                                          MAURA HEALEY, Attorney General; KERRY
 /s/ William W. Fick                      GILPIN, Massachusetts State Police
 DANIEL N. MARX, BBO# 674523              Superintendent; DANIEL BENNETT, Secretary
 WILLIAM W. FICK, BBO# 650562             of the Executive Office of Public Safety and
 24 Federal Street, 4th Fl.               Security; JONATHAN BLODGETT, Essex
 Boston, MA 02110                         County District Attorney; DAN CONLEY,
 (857) 321-8360                           Suffolk County District Attorney; TIMOTHY J.
 dmarx@fickmarx.com                       CRUZ, Plymouth County District Attorney;
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                                          District Attorney; MICHAEL D. O’KEEFE,
 LUKE RYAN, BBO# 664999                   Cape and Islands District Attorney; THOMAS M.
 Sasson, Turnbull, Ryan & Hoose           QUINN III, Bristol County District Attorney;
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 Northampton, MA 01060                    Attorney; PAUL J. CACCAVIELLO, Berkshire
 (413) 586-4800                           County District Attorney; ANTHONY
 lryan@strhlaw.com                        GULLUNI, Hampden County District Attorney;
                                          DAVID E. SULLIVAN, Northwestern District
 Date:   January 29, 2019                 Attorney; and JOSEPH D. EARLY, JR.,
                                          Worcester County District Attorney,

                                          By their Attorneys

                                          MAURA HEALEY
                                          ATTORNEY GENERAL

                                          /s/ Anne Sterman
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                                          Date:   January 29, 2019

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                                CERTIFICATE OF SERVICE

         I, Anne Sterman, Assistant Attorney General, hereby certify that I have this day, January
29, 2019, served the foregoing document upon all parties of record, by electronically filing to all
ECF-registered parties and by sending a copy, first-class mail, postage prepaid to all unregistered
parties.

                                                             /s/ Anne Sterman
                                                             Anne Sterman




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